
*1153OPINION.
GeaupneR
: The items of equipment described in the findings of fact are similar in character to those considered in the Appeal of Union, Collieries Co., 3 B. T. A. 540, are capital items and can not be deducted as expenses. See also Appeal of Simmons &amp; Hammond Mfg. Co., 1 B. T. A. 803.
With respect to the other items listed in the findings of fact, no evidence was offered which would warrant us in disturbing the *1154action of the Commissioner in holding that they are not deductible as expenses.
It is manifest that the entire amount of the deficiency does not arise from the disallowance of the above-listed items, but no issue was raised as to any other adjustments made by the Commissioner in the determination of the deficiency, and consequently we can not pass upon them in this appeal.

Order of redetermination will he entered on 15 days' notice, under ■Rule 50.

